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 Attorneys for Defendant
 Rider University

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 JOHN DOE,

                           Plaintiff,             Civ. A. No. 3:16-cv-04882-BRM-TJB

                  v.
                                                  NOTICE OF JOINT MOTION TO
 RlDER UNIVERSITY,                                SEAL MATERIAL

                           Defendant.             MOTION DATE:
                                                  December 17, 2018


                  PLEASE TAKE NOTICE that, upon all the pleadings and

 proceedings herein, the parties will move before this Court at the United States

 District Court for the District of New Jersey, Clarkson S. Fisher Building & U.S.

 Courthouse, 402 East State Street, Trenton, NJ 08608, on December 17, 2018, at

 9:00 a.m., or as soon ther:eafter as counsel may be heard, for an Order pursuant to

 Local Civil Rule 5.3(c) to seal the following document filed with the Court: (a)

 Defendant Rider University's Memorandum of Law in Support of its Motion to
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 Dismiss Counts III, IV and V of Plaintiffs Amended Complaint; (b) Plaintiffs

 Response in Opposition to Defendant's Motion to Dismiss Amended Complaint;

 and (c) the Court's October 31, 2018 Opinion (Dkt. 60).


 Dated: November 12, 2018


 s/ Angelo A. Stio III                              s/ Kevin Kent
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